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 8                       IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                OAKLAND DIVISION
11

12   STATE OF ARIZONA, ex rel. KRIS         Case No. 4:23-cv-05448-YGR
     MAYES, ATTORNEY GENERAL;
13
     THE PEOPLE OF THE STATE OF             Hon. Yvonne Gonzalez Rogers
14   CALIFORNIA;
15   STATE OF COLORADO, ex rel. PHILIP J.   [PROPOSED] ORDER RE: PLAINTIFFS’
     WEISER, ATTORNEY GENERAL;              ADMINISTRATIVE MOTION TO
16                                          DETERMINE WHETHER DEFENDANT
     STATE OF CONNECTICUT;                  META PLATFORMS INC.’S
17                                          MATERIALS SHOULD BE SEALED
     STATE OF DELAWARE, ex rel.
18   KATHLEEN JENNINGS,
     ATTORNEY GENERAL OF THE STATE OF
19   DELAWARE;
20   STATE OF GEORGIA ex rel.
     CHRISTOPHER M. CARR, ATTORNEY
21   GENERAL OF THE STATE OF GEORGIA;
22   STATE OF HAWAI‘I, ex rel. ANNE E.
     LOPEZ, ATTORNEY GENERAL;
23
     STATE OF IDAHO, through ATTORNEY
24   GENERAL RAÚL R. LABRADOR;
25   THE PEOPLE OF THE STATE OF
     ILLINOIS;
26
     STATE OF INDIANA;
27
     STATE OF KANSAS, ex rel. KRIS W.
28   KOBACH, Attorney General;
                                            1
                                                [Proposed] Order Re: Pls. Admin. Mot. (4:23-cv-05448)
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 1
     THE COMMONWEALTH OF
 2   KENTUCKY;
 3   STATE OF LOUISIANA;
 4   STATE OF MAINE;
 5   OFFICE OF THE ATTORNEY GENERAL
     OF MARYLAND;
 6
     STATE OF MICHIGAN ex rel. DANA
 7   NESSEL, ATTORNEY GENERAL;
 8   STATE OF MINNESOTA, by its
     ATTORNEY GENERAL, KEITH ELLISON;
 9
     STATE OF MISSOURI, ex rel. ANDREW
10   BAILEY, ATTORNEY GENERAL;
11   STATE OF NEBRASKA ex rel. MICHAEL
     T. HILGERS, ATTORNEY GENERAL;
12
     MATTHEW J. PLATKIN, ATTORNEY
13   GENERAL FOR THE STATE OF NEW
     JERSEY, AND CARI FAIS, ACTING
14   DIRECTOR OF THE NEW JERSEY
     DIVISION OF CONSUMER AFFAIRS;
15
     THE PEOPLE OF THE STATE OF NEW
16   YORK, by LETITIA JAMES, ATTORNEY
     GENERAL OF THE STATE OF NEW
17   YORK;
18   STATE OF NORTH CAROLINA, ex rel.
     JOSHUA H. STEIN, ATTORNEY
19   GENERAL;
20   STATE OF NORTH DAKOTA, ex rel.
     DREW WRIGLEY, ATTORNEY GENERAL;
21
     STATE OF OHIO, ex rel. ATTORNEY
22   GENERAL DAVE YOST;
23   STATE OF OREGON ex rel. ELLEN F.
     ROSENBLUM, ATTORNEY GENERAL
24   FOR THE STATE OF OREGON;
25   COMMONWEALTH OF
     PENNSYLVANIA
26   BY ATTORNEY GENERAL MICHELLE A.
     HENRY;
27
     STATE OF RHODE ISLAND;
28
                                           2
                                               [Proposed] Order Re: Pls. Admin. Mot. (4:23-cv-05448)
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 1
     STATE OF SOUTH CAROLINA, ex. rel.
 2   ALAN M. WILSON, IN HIS OFFICIAL
     CAPACITY AS ATTORNEY GENERAL OF
 3   THE STATE OF SOUTH CAROLINA;
 4   STATE OF SOUTH DAKOTA ex rel.
     MARTY J. JACKLEY, SOUTH DAKOTA
 5   ATTORNEY GENERAL;
 6   COMMONWEALTH OF VIRGINIA,
     ex rel. JASON S. MIYARES,
 7   ATTORNEY GENERAL;
 8   STATE OF WASHINGTON, ex rel.
     ROBERT W. FERGUSON, ATTORNEY
 9   GENERAL;
10   STATE OF WEST VIRGINIA, ex rel.
     PATRICK MORRISEY, ATTORNEY
11   GENERAL; and
12   STATE OF WISCONSIN,
13                            Plaintiffs,
14         v.
15   META PLATFORMS, INC.;
16   INSTAGRAM, LLC;
17   META PAYMENTS, INC.; and
18   META PLATFORMS TECHNOLOGIES,
     LLC,
19
                              Defendants.
20

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23          Having considered the Motion and accompanying Declaration and Exhibits, the Court
24   considers whether to seal the paragraphs designated below. The Court rules as follows:
25
               Paragraph                                   Ruling
26    Pg. II, lines 6-7           __ GRANT / __ DENY / __ OTHER:
27    ¶ 2, lines 18-19            __ GRANT / __ DENY / __ OTHER:
      ¶ 6, lines 23-26, 1-2       __ GRANT / __ DENY / __ OTHER:
28
                                                      3
                                                          [Proposed] Order Re: Pls. Admin. Mot. (4:23-cv-05448)
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 1   ¶ 8, lines 17-19            __ GRANT / __ DENY / __ OTHER:
 2   ¶ 42                        __ GRANT / __ DENY / __ OTHER:
     ¶ 43, lines 4-7             __ GRANT / __ DENY / __ OTHER:
 3   ¶ 57                        __ GRANT / __ DENY / __ OTHER:
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     ¶ 59                        __ GRANT / __ DENY / __ OTHER:
 5   ¶ 60                        __ GRANT / __ DENY / __ OTHER:
     ¶ 66                        __ GRANT / __ DENY / __ OTHER:
 6
     ¶ 68, lines 12-14           __ GRANT / __ DENY / __ OTHER:
 7   ¶ 69                        __ GRANT / __ DENY / __ OTHER:
 8   ¶ 70                        __ GRANT / __ DENY / __ OTHER:
     ¶ 71                        __ GRANT / __ DENY / __ OTHER:
 9   ¶ 72                        __ GRANT / __ DENY / __ OTHER:
10   ¶ 73                        __ GRANT / __ DENY / __ OTHER:
     ¶ 77, line 23               __ GRANT / __ DENY / __ OTHER:
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     ¶ 78                        __ GRANT / __ DENY / __ OTHER:
12   ¶ 79                        __ GRANT / __ DENY / __ OTHER:
     ¶ 80                        __ GRANT / __ DENY / __ OTHER:
13
     ¶ 81                        __ GRANT / __ DENY / __ OTHER:
14   ¶ 82, lines 26-27           __ GRANT / __ DENY / __ OTHER:
15   ¶ 83                        __ GRANT / __ DENY / __ OTHER:
     ¶ 84                        __ GRANT / __ DENY / __ OTHER:
16   ¶ 96, lines 26-28           __ GRANT / __ DENY / __ OTHER:
17   ¶ 100                       __ GRANT / __ DENY / __ OTHER:
     ¶ 101                       __ GRANT / __ DENY / __ OTHER:
18
     ¶ 106                       __ GRANT / __ DENY / __ OTHER:
19   ¶ 108                       __ GRANT / __ DENY / __ OTHER:
     ¶ 109, lines 6-7            __ GRANT / __ DENY / __ OTHER:
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     ¶112                        __ GRANT / __ DENY / __ OTHER:
21   ¶ 113                       __ GRANT / __ DENY / __ OTHER:
22   ¶ 114                       __ GRANT / __ DENY / __ OTHER:
     ¶ 115                       __ GRANT / __ DENY / __ OTHER:
23   ¶ 116                       __ GRANT / __ DENY / __ OTHER:
24   ¶ 119, lines 21-22, 25-26   __ GRANT / __ DENY / __ OTHER:
     ¶ 127                       __ GRANT / __ DENY / __ OTHER:
25
     ¶ 132                       __ GRANT / __ DENY / __ OTHER:
26   ¶ 135                       __ GRANT / __ DENY / __ OTHER:
27   ¶ 136                       __ GRANT / __ DENY / __ OTHER:
     ¶ 140                       __ GRANT / __ DENY / __ OTHER:
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                                                 4
                                                     [Proposed] Order Re: Pls. Admin. Mot. (4:23-cv-05448)
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 1   ¶ 141                __ GRANT / __ DENY / __ OTHER:
 2   ¶ 142                __ GRANT / __ DENY / __ OTHER:
     ¶ 143                __ GRANT / __ DENY / __ OTHER:
 3   ¶ 144                __ GRANT / __ DENY / __ OTHER:
 4   ¶ 145                __ GRANT / __ DENY / __ OTHER:
     ¶ 146                __ GRANT / __ DENY / __ OTHER:
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     ¶ 147                __ GRANT / __ DENY / __ OTHER:
 6   ¶ 148                __ GRANT / __ DENY / __ OTHER:
     ¶ 149                __ GRANT / __ DENY / __ OTHER:
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     ¶ 160                __ GRANT / __ DENY / __ OTHER:
 8   ¶ 162                __ GRANT / __ DENY / __ OTHER:
 9   ¶ 163                __ GRANT / __ DENY / __ OTHER:
     ¶ 164                __ GRANT / __ DENY / __ OTHER:
10   ¶ 178                __ GRANT / __ DENY / __ OTHER:
11   ¶ 179                __ GRANT / __ DENY / __ OTHER:
     ¶ 180                __ GRANT / __ DENY / __ OTHER:
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     ¶ 181                __ GRANT / __ DENY / __ OTHER:
13   ¶ 182                __ GRANT / __ DENY / __ OTHER:
     ¶ 186                __ GRANT / __ DENY / __ OTHER:
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     ¶ 195                __ GRANT / __ DENY / __ OTHER:
15   ¶ 196                __ GRANT / __ DENY / __ OTHER:
16   ¶ 197                __ GRANT / __ DENY / __ OTHER:
     ¶ 198                __ GRANT / __ DENY / __ OTHER:
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     ¶ 199                __ GRANT / __ DENY / __ OTHER:
18   ¶ 200                __ GRANT / __ DENY / __ OTHER:
     ¶ 201                __ GRANT / __ DENY / __ OTHER:
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     ¶ 202                __ GRANT / __ DENY / __ OTHER:
20   ¶ 203                __ GRANT / __ DENY / __ OTHER:
21   ¶ 204                __ GRANT / __ DENY / __ OTHER:
     ¶ 205                __ GRANT / __ DENY / __ OTHER:
22   Fn. 12               __ GRANT / __ DENY / __ OTHER:
23   ¶ 206                __ GRANT / __ DENY / __ OTHER:
     ¶ 208                __ GRANT / __ DENY / __ OTHER:
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     ¶ 209                __ GRANT / __ DENY / __ OTHER:
25   ¶ 210                __ GRANT / __ DENY / __ OTHER:
     ¶ 211                __ GRANT / __ DENY / __ OTHER:
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     ¶ 212                __ GRANT / __ DENY / __ OTHER:
27   ¶ 213                __ GRANT / __ DENY / __ OTHER:
28   ¶ 214                __ GRANT / __ DENY / __ OTHER:
                                          5
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 1   ¶ 215                    __ GRANT / __ DENY / __ OTHER:
 2   ¶ 216                    __ GRANT / __ DENY / __ OTHER:
     ¶ 217                    __ GRANT / __ DENY / __ OTHER:
 3   ¶ 218                    __ GRANT / __ DENY / __ OTHER:
 4   ¶ 219, lines 22-24       __ GRANT / __ DENY / __ OTHER:
     ¶ 221                    __ GRANT / __ DENY / __ OTHER:
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     ¶ 228, lines 9-10        __ GRANT / __ DENY / __ OTHER:
 6   ¶ 229                    __ GRANT / __ DENY / __ OTHER:
     ¶ 230                    __ GRANT / __ DENY / __ OTHER:
 7
     ¶ 231                    __ GRANT / __ DENY / __ OTHER:
 8   ¶ 232                    __ GRANT / __ DENY / __ OTHER:
 9   ¶ 233                    __ GRANT / __ DENY / __ OTHER:
     ¶ 234                    __ GRANT / __ DENY / __ OTHER:
10   ¶ 235                    __ GRANT / __ DENY / __ OTHER:
11   ¶ 236                    __ GRANT / __ DENY / __ OTHER:
     ¶ 237                    __ GRANT / __ DENY / __ OTHER:
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     ¶ 238                    __ GRANT / __ DENY / __ OTHER:
13   ¶ 239                    __ GRANT / __ DENY / __ OTHER:
     ¶ 240                    __ GRANT / __ DENY / __ OTHER:
14
     ¶ 241                    __ GRANT / __ DENY / __ OTHER:
15   ¶ 242                    __ GRANT / __ DENY / __ OTHER:
16   ¶ 243                    __ GRANT / __ DENY / __ OTHER:
     ¶ 244                    __ GRANT / __ DENY / __ OTHER:
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     ¶ 245                    __ GRANT / __ DENY / __ OTHER:
18   ¶ 246                    __ GRANT / __ DENY / __ OTHER:
     ¶ 247                    __ GRANT / __ DENY / __ OTHER:
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     ¶ 248                    __ GRANT / __ DENY / __ OTHER:
20   ¶ 249                    __ GRANT / __ DENY / __ OTHER:
21   ¶ 250                    __ GRANT / __ DENY / __ OTHER:
     ¶ 252, lines 10-11       __ GRANT / __ DENY / __ OTHER:
22   ¶ 254                    __ GRANT / __ DENY / __ OTHER:
23   ¶ 255, lines 24-25       __ GRANT / __ DENY / __ OTHER:
     ¶ 256                    __ GRANT / __ DENY / __ OTHER:
24
     ¶ 257                    __ GRANT / __ DENY / __ OTHER:
25   ¶ 258                    __ GRANT / __ DENY / __ OTHER:
     ¶ 259                    __ GRANT / __ DENY / __ OTHER:
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     ¶ 260                    __ GRANT / __ DENY / __ OTHER:
27   ¶ 261, lines 19, 21-22   __ GRANT / __ DENY / __ OTHER:
28   ¶ 262                    __ GRANT / __ DENY / __ OTHER:
                                              6
                                                  [Proposed] Order Re: Pls. Admin. Mot. (4:23-cv-05448)
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 1   ¶ 263                __ GRANT / __ DENY / __ OTHER:
 2   ¶ 264                __ GRANT / __ DENY / __ OTHER:
     ¶ 265, lines 3-5     __ GRANT / __ DENY / __ OTHER:
 3   ¶ 266                __ GRANT / __ DENY / __ OTHER:
 4   ¶ 267                __ GRANT / __ DENY / __ OTHER:
     ¶ 268                __ GRANT / __ DENY / __ OTHER:
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     ¶ 269                __ GRANT / __ DENY / __ OTHER:
 6   ¶ 270                __ GRANT / __ DENY / __ OTHER:
     ¶ 271                __ GRANT / __ DENY / __ OTHER:
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     ¶ 272                __ GRANT / __ DENY / __ OTHER:
 8   ¶ 273, lines 14-18   __ GRANT / __ DENY / __ OTHER:
 9   ¶ 274                __ GRANT / __ DENY / __ OTHER:
     ¶ 275                __ GRANT / __ DENY / __ OTHER:
10   ¶ 276                __ GRANT / __ DENY / __ OTHER:
11   ¶ 277                __ GRANT / __ DENY / __ OTHER:
     ¶ 278                __ GRANT / __ DENY / __ OTHER:
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     ¶ 279                __ GRANT / __ DENY / __ OTHER:
13   ¶ 280                __ GRANT / __ DENY / __ OTHER:
     ¶ 281                __ GRANT / __ DENY / __ OTHER:
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     ¶ 282                __ GRANT / __ DENY / __ OTHER:
15   ¶ 283                __ GRANT / __ DENY / __ OTHER:
16   ¶ 285                __ GRANT / __ DENY / __ OTHER:
     ¶ 286                __ GRANT / __ DENY / __ OTHER:
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     ¶ 287                __ GRANT / __ DENY / __ OTHER:
18   ¶ 289                __ GRANT / __ DENY / __ OTHER:
     ¶ 290                __ GRANT / __ DENY / __ OTHER:
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     ¶ 291                __ GRANT / __ DENY / __ OTHER:
20   ¶ 292                __ GRANT / __ DENY / __ OTHER:
21   ¶ 293                __ GRANT / __ DENY / __ OTHER:
     ¶ 294                __ GRANT / __ DENY / __ OTHER:
22   ¶ 295                __ GRANT / __ DENY / __ OTHER:
23   ¶ 296                __ GRANT / __ DENY / __ OTHER:
     ¶ 297                __ GRANT / __ DENY / __ OTHER:
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     ¶ 298                __ GRANT / __ DENY / __ OTHER:
25   ¶ 300, lines 17-18   __ GRANT / __ DENY / __ OTHER:
     ¶ 304                __ GRANT / __ DENY / __ OTHER:
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     ¶ 305                __ GRANT / __ DENY / __ OTHER:
27   ¶ 306                __ GRANT / __ DENY / __ OTHER:
28   ¶ 307                __ GRANT / __ DENY / __ OTHER:
                                          7
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 1   ¶ 308                __ GRANT / __ DENY / __ OTHER:
 2   ¶ 312                __ GRANT / __ DENY / __ OTHER:
     ¶ 316, lines 21-22   __ GRANT / __ DENY / __ OTHER:
 3   ¶ 317, lines 24-25   __ GRANT / __ DENY / __ OTHER:
 4   ¶ 318                __ GRANT / __ DENY / __ OTHER:
     ¶ 319                __ GRANT / __ DENY / __ OTHER:
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     ¶ 320                __ GRANT / __ DENY / __ OTHER:
 6   ¶ 321                __ GRANT / __ DENY / __ OTHER:
     ¶ 322                __ GRANT / __ DENY / __ OTHER:
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     ¶ 323                __ GRANT / __ DENY / __ OTHER:
 8   ¶ 324                __ GRANT / __ DENY / __ OTHER:
 9   ¶ 328                __ GRANT / __ DENY / __ OTHER:
     ¶ 338                __ GRANT / __ DENY / __ OTHER:
10   ¶ 339                __ GRANT / __ DENY / __ OTHER:
11   ¶ 340                __ GRANT / __ DENY / __ OTHER:
     ¶ 341                __ GRANT / __ DENY / __ OTHER:
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     ¶ 342                __ GRANT / __ DENY / __ OTHER:
13   ¶ 343                __ GRANT / __ DENY / __ OTHER:
     ¶ 344                __ GRANT / __ DENY / __ OTHER:
14
     ¶ 346                __ GRANT / __ DENY / __ OTHER:
15   ¶ 347                __ GRANT / __ DENY / __ OTHER:
16   ¶ 348                __ GRANT / __ DENY / __ OTHER:
     ¶ 349                __ GRANT / __ DENY / __ OTHER:
17
     ¶ 350                __ GRANT / __ DENY / __ OTHER:
18   ¶ 351                __ GRANT / __ DENY / __ OTHER:
     ¶ 352                __ GRANT / __ DENY / __ OTHER:
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     ¶ 353                __ GRANT / __ DENY / __ OTHER:
20   ¶ 354                __ GRANT / __ DENY / __ OTHER:
21   ¶ 355                __ GRANT / __ DENY / __ OTHER:
     ¶ 356                __ GRANT / __ DENY / __ OTHER:
22   ¶ 357                __ GRANT / __ DENY / __ OTHER:
23   ¶ 358                __ GRANT / __ DENY / __ OTHER:
     ¶ 359                __ GRANT / __ DENY / __ OTHER:
24
     ¶ 360                __ GRANT / __ DENY / __ OTHER:
25   ¶ 361                __ GRANT / __ DENY / __ OTHER:
     ¶ 362, line 1        __ GRANT / __ DENY / __ OTHER:
26
     ¶ 363, lines 2-4     __ GRANT / __ DENY / __ OTHER:
27   ¶ 364                __ GRANT / __ DENY / __ OTHER:
28   ¶ 365                __ GRANT / __ DENY / __ OTHER:
                                          8
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 1   ¶ 366                __ GRANT / __ DENY / __ OTHER:
 2   ¶ 367                __ GRANT / __ DENY / __ OTHER:
     ¶ 368, lines 23-25   __ GRANT / __ DENY / __ OTHER:
 3   ¶ 369                __ GRANT / __ DENY / __ OTHER:
 4   ¶ 371, lines 12-13   __ GRANT / __ DENY / __ OTHER:
     ¶ 372                __ GRANT / __ DENY / __ OTHER:
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     ¶ 379, lines 23-25   __ GRANT / __ DENY / __ OTHER:
 6   ¶ 380                __ GRANT / __ DENY / __ OTHER:
     ¶ 385, lines 17-19   __ GRANT / __ DENY / __ OTHER:
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     ¶ 386                __ GRANT / __ DENY / __ OTHER:
 8   ¶ 391                __ GRANT / __ DENY / __ OTHER:
 9   ¶ 392                __ GRANT / __ DENY / __ OTHER:
     ¶ 395                __ GRANT / __ DENY / __ OTHER:
10   ¶ 399                __ GRANT / __ DENY / __ OTHER:
11   ¶ 400                __ GRANT / __ DENY / __ OTHER:
     ¶ 402                __ GRANT / __ DENY / __ OTHER:
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     ¶ 403                __ GRANT / __ DENY / __ OTHER:
13   ¶ 404                __ GRANT / __ DENY / __ OTHER:
     ¶ 405                __ GRANT / __ DENY / __ OTHER:
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     ¶ 406                __ GRANT / __ DENY / __ OTHER:
15   ¶ 407                __ GRANT / __ DENY / __ OTHER:
16   ¶ 408                __ GRANT / __ DENY / __ OTHER:
     ¶ 409                __ GRANT / __ DENY / __ OTHER:
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     ¶ 416                __ GRANT / __ DENY / __ OTHER:
18   ¶ 417                __ GRANT / __ DENY / __ OTHER:
     ¶ 418, lines 6-10    __ GRANT / __ DENY / __ OTHER:
19
     ¶ 419, lines 14-16   __ GRANT / __ DENY / __ OTHER:
20   ¶ 419, lines 19-21   __ GRANT / __ DENY / __ OTHER:
21   ¶ 420                __ GRANT / __ DENY / __ OTHER:
     ¶ 421                __ GRANT / __ DENY / __ OTHER:
22   ¶ 422                __ GRANT / __ DENY / __ OTHER:
23   ¶ 423                __ GRANT / __ DENY / __ OTHER:
     ¶ 424                __ GRANT / __ DENY / __ OTHER:
24
     ¶ 425, lines 20-21   __ GRANT / __ DENY / __ OTHER:
25   ¶ 426                __ GRANT / __ DENY / __ OTHER:
     ¶ 428                __ GRANT / __ DENY / __ OTHER:
26
     ¶ 436                __ GRANT / __ DENY / __ OTHER:
27   ¶ 437                __ GRANT / __ DENY / __ OTHER:
28   ¶ 438, lines 13-15   __ GRANT / __ DENY / __ OTHER:
                                          9
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 1   ¶ 439, lines 18-19    __ GRANT / __ DENY / __ OTHER:
 2   ¶ 440                 __ GRANT / __ DENY / __ OTHER:
     ¶ 443                 __ GRANT / __ DENY / __ OTHER:
 3   ¶ 448, lines 18-19    __ GRANT / __ DENY / __ OTHER:
 4   ¶ 449                 __ GRANT / __ DENY / __ OTHER:
     ¶ 450                 __ GRANT / __ DENY / __ OTHER:
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     ¶ 451                 __ GRANT / __ DENY / __ OTHER:
 6   ¶ 452                 __ GRANT / __ DENY / __ OTHER:
     ¶ 453                 __ GRANT / __ DENY / __ OTHER:
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     ¶ 454                 __ GRANT / __ DENY / __ OTHER:
 8   ¶ 455                 __ GRANT / __ DENY / __ OTHER:
 9   ¶ 456                 __ GRANT / __ DENY / __ OTHER:
     Pg. 73, lines 22-23   __ GRANT / __ DENY / __ OTHER:
10   ¶ 458, lines 26-28    __ GRANT / __ DENY / __ OTHER:
11   ¶ 460, lines 5-7      __ GRANT / __ DENY / __ OTHER:
     ¶ 463                 __ GRANT / __ DENY / __ OTHER:
12
     ¶ 467                 __ GRANT / __ DENY / __ OTHER:
13   ¶ 468                 __ GRANT / __ DENY / __ OTHER:
     ¶ 469                 __ GRANT / __ DENY / __ OTHER:
14
     ¶ 470                 __ GRANT / __ DENY / __ OTHER:
15   ¶ 471                 __ GRANT / __ DENY / __ OTHER:
16   ¶ 475                 __ GRANT / __ DENY / __ OTHER:
     ¶ 476                 __ GRANT / __ DENY / __ OTHER:
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     ¶ 477                 __ GRANT / __ DENY / __ OTHER:
18   ¶ 478                 __ GRANT / __ DENY / __ OTHER:
     ¶ 479                 __ GRANT / __ DENY / __ OTHER:
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     ¶ 482                 __ GRANT / __ DENY / __ OTHER:
20   ¶ 483, lines 18-19    __ GRANT / __ DENY / __ OTHER:
21   ¶ 484                 __ GRANT / __ DENY / __ OTHER:
     ¶ 485                 __ GRANT / __ DENY / __ OTHER:
22   ¶ 486                 __ GRANT / __ DENY / __ OTHER:
23   ¶ 487                 __ GRANT / __ DENY / __ OTHER:
     ¶ 488                 __ GRANT / __ DENY / __ OTHER:
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     ¶ 489                 __ GRANT / __ DENY / __ OTHER:
25   ¶ 491                 __ GRANT / __ DENY / __ OTHER:
     ¶ 492                 __ GRANT / __ DENY / __ OTHER:
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     ¶ 493                 __ GRANT / __ DENY / __ OTHER:
27   ¶ 494                 __ GRANT / __ DENY / __ OTHER:
28   ¶ 495                 __ GRANT / __ DENY / __ OTHER:
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 1   ¶ 496                 __ GRANT / __ DENY / __ OTHER:
 2   ¶ 497                 __ GRANT / __ DENY / __ OTHER:
     ¶ 498, lines 12-14    __ GRANT / __ DENY / __ OTHER:
 3   ¶ 499, lines 18-22    __ GRANT / __ DENY / __ OTHER:
 4   ¶ 500                 __ GRANT / __ DENY / __ OTHER:
     ¶ 502                 __ GRANT / __ DENY / __ OTHER:
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     ¶ 503                 __ GRANT / __ DENY / __ OTHER:
 6   ¶ 504                 __ GRANT / __ DENY / __ OTHER:
     ¶ 505                 __ GRANT / __ DENY / __ OTHER:
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     ¶ 506                 __ GRANT / __ DENY / __ OTHER:
 8   ¶ 526, lines 19-21    __ GRANT / __ DENY / __ OTHER:
 9   ¶ 528                 __ GRANT / __ DENY / __ OTHER:
     ¶ 530                 __ GRANT / __ DENY / __ OTHER:
10   ¶ 533, lines 1-2      __ GRANT / __ DENY / __ OTHER:
11   ¶ 535, line 5         __ GRANT / __ DENY / __ OTHER:
     ¶ 535, line 6         __ GRANT / __ DENY / __ OTHER:
12
     ¶ 539                 __ GRANT / __ DENY / __ OTHER:
13   Pg. 91, lines 1-13    __ GRANT / __ DENY / __ OTHER:
     ¶ 540                 __ GRANT / __ DENY / __ OTHER:
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     ¶ 541                 __ GRANT / __ DENY / __ OTHER:
15   ¶ 542                 __ GRANT / __ DENY / __ OTHER:
16   ¶ 543                 __ GRANT / __ DENY / __ OTHER:
     ¶ 544                 __ GRANT / __ DENY / __ OTHER:
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     ¶ 545                 __ GRANT / __ DENY / __ OTHER:
18   ¶ 546                 __ GRANT / __ DENY / __ OTHER:
     ¶ 547                 __ GRANT / __ DENY / __ OTHER:
19
     Pg. 92, lines 17-25   __ GRANT / __ DENY / __ OTHER:
20   ¶ 548                 __ GRANT / __ DENY / __ OTHER:
21   ¶ 549                 __ GRANT / __ DENY / __ OTHER:
     ¶ 550                 __ GRANT / __ DENY / __ OTHER:
22   ¶ 551                 __ GRANT / __ DENY / __ OTHER:
23   ¶ 552, lines 13-16    __ GRANT / __ DENY / __ OTHER:
     ¶ 553                 __ GRANT / __ DENY / __ OTHER:
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     ¶ 554                 __ GRANT / __ DENY / __ OTHER:
25   ¶ 555                 __ GRANT / __ DENY / __ OTHER:
     ¶ 556                 __ GRANT / __ DENY / __ OTHER:
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     ¶ 557                 __ GRANT / __ DENY / __ OTHER:
27   ¶ 558                 __ GRANT / __ DENY / __ OTHER:
28   ¶ 559                 __ GRANT / __ DENY / __ OTHER:
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 1   ¶ 560                       __ GRANT / __ DENY / __ OTHER:
 2   ¶ 561                       __ GRANT / __ DENY / __ OTHER:
     ¶ 563                       __ GRANT / __ DENY / __ OTHER:
 3   ¶ 564, lines 28, 1-2        __ GRANT / __ DENY / __ OTHER:
 4   ¶ 568                       __ GRANT / __ DENY / __ OTHER:
     ¶ 569                       __ GRANT / __ DENY / __ OTHER:
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     ¶ 570                       __ GRANT / __ DENY / __ OTHER:
 6   ¶ 571                       __ GRANT / __ DENY / __ OTHER:
     ¶ 572                       __ GRANT / __ DENY / __ OTHER:
 7
     ¶ 573                       __ GRANT / __ DENY / __ OTHER:
 8   ¶ 574, lines 3-7            __ GRANT / __ DENY / __ OTHER:
 9   ¶ 583                       __ GRANT / __ DENY / __ OTHER:
     ¶ 584, lines 12-13          __ GRANT / __ DENY / __ OTHER:
10   ¶ 585                       __ GRANT / __ DENY / __ OTHER:
11   ¶ 586                       __ GRANT / __ DENY / __ OTHER:
     ¶ 587                       __ GRANT / __ DENY / __ OTHER:
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     ¶ 592, lines 18-20          __ GRANT / __ DENY / __ OTHER:
13   ¶ 597, lines 13-15, 16-17   __ GRANT / __ DENY / __ OTHER:
     ¶ 599                       __ GRANT / __ DENY / __ OTHER:
14
     ¶ 601                       __ GRANT / __ DENY / __ OTHER:
15   ¶ 602                       __ GRANT / __ DENY / __ OTHER:
16   ¶ 603                       __ GRANT / __ DENY / __ OTHER:
     ¶ 606                       __ GRANT / __ DENY / __ OTHER:
17
     ¶ 609                       __ GRANT / __ DENY / __ OTHER:
18   ¶ 610                       __ GRANT / __ DENY / __ OTHER:
     ¶ 612                       __ GRANT / __ DENY / __ OTHER:
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     ¶ 613                       __ GRANT / __ DENY / __ OTHER:
20   ¶ 614                       __ GRANT / __ DENY / __ OTHER:
21   ¶ 615                       __ GRANT / __ DENY / __ OTHER:
     ¶ 616                       __ GRANT / __ DENY / __ OTHER:
22   ¶ 617                       __ GRANT / __ DENY / __ OTHER:
23   ¶ 618                       __ GRANT / __ DENY / __ OTHER:
     ¶ 619                       __ GRANT / __ DENY / __ OTHER:
24
     ¶ 620                       __ GRANT / __ DENY / __ OTHER:
25   ¶ 621                       __ GRANT / __ DENY / __ OTHER:
     ¶ 622                       __ GRANT / __ DENY / __ OTHER:
26
     ¶ 623                       __ GRANT / __ DENY / __ OTHER:
27   ¶ 624                       __ GRANT / __ DENY / __ OTHER:
28   ¶ 625                       __ GRANT / __ DENY / __ OTHER:
                                                12
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 1   ¶ 626                  __ GRANT / __ DENY / __ OTHER:
 2   ¶ 627                  __ GRANT / __ DENY / __ OTHER:
     ¶ 628                  __ GRANT / __ DENY / __ OTHER:
 3   ¶ 629, line 9          __ GRANT / __ DENY / __ OTHER:
 4   ¶ 630, lines 18-19     __ GRANT / __ DENY / __ OTHER:
     ¶ 638, lines 1-2       __ GRANT / __ DENY / __ OTHER:
 5
     ¶ 645                  __ GRANT / __ DENY / __ OTHER:
 6   ¶ 646                  __ GRANT / __ DENY / __ OTHER:
     ¶ 647                  __ GRANT / __ DENY / __ OTHER:
 7
     Pg. 108, lines 18-19   __ GRANT / __ DENY / __ OTHER:
 8   ¶ 648, lines 22-23     __ GRANT / __ DENY / __ OTHER:
 9   ¶ 649                  __ GRANT / __ DENY / __ OTHER:
     Pg. 109, lines 1-11    __ GRANT / __ DENY / __ OTHER:
10   ¶ 650                  __ GRANT / __ DENY / __ OTHER:
11   ¶ 651                  __ GRANT / __ DENY / __ OTHER:
      Pg. 110, lines 1-12   __ GRANT / __ DENY / __ OTHER:
12
     ¶ 652                  __ GRANT / __ DENY / __ OTHER:
13   ¶ 653                  __ GRANT / __ DENY / __ OTHER:
     ¶ 654                  __ GRANT / __ DENY / __ OTHER:
14
     ¶ 655                  __ GRANT / __ DENY / __ OTHER:
15   ¶ 656, lines 26-27     __ GRANT / __ DENY / __ OTHER:
16   Pg. 111, lines 1-2     __ GRANT / __ DENY / __ OTHER:
     ¶ 657                  __ GRANT / __ DENY / __ OTHER:
17
     ¶ 658                  __ GRANT / __ DENY / __ OTHER:
18   ¶ 659                  __ GRANT / __ DENY / __ OTHER:
     ¶ 660, lines 12-13     __ GRANT / __ DENY / __ OTHER:
19
     ¶ 661                  __ GRANT / __ DENY / __ OTHER:
20   ¶ 662                  __ GRANT / __ DENY / __ OTHER:
21   ¶ 663                  __ GRANT / __ DENY / __ OTHER:
     Page 112, lines 3-4    __ GRANT / __ DENY / __ OTHER:
22   ¶ 665                  __ GRANT / __ DENY / __ OTHER:
23   ¶ 666                  __ GRANT / __ DENY / __ OTHER:
     ¶ 667, lines 15, 17    __ GRANT / __ DENY / __ OTHER:
24
     ¶ 668                  __ GRANT / __ DENY / __ OTHER:
25   ¶ 670                  __ GRANT / __ DENY / __ OTHER:
     ¶ 671                  __ GRANT / __ DENY / __ OTHER:
26
     ¶ 672                  __ GRANT / __ DENY / __ OTHER:
27   ¶ 673                  __ GRANT / __ DENY / __ OTHER:
28   ¶ 674                  __ GRANT / __ DENY / __ OTHER:
                                           13
                                                [Proposed] Order Re: Pls. Admin. Mot. (4:23-cv-05448)
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 1   ¶ 675                 __ GRANT / __ DENY / __ OTHER:
 2   ¶ 676                 __ GRANT / __ DENY / __ OTHER:
     ¶ 677                 __ GRANT / __ DENY / __ OTHER:
 3   ¶ 679                 __ GRANT / __ DENY / __ OTHER:
 4   ¶ 680                 __ GRANT / __ DENY / __ OTHER:
     ¶ 681                 __ GRANT / __ DENY / __ OTHER:
 5
     ¶ 682, lines 23-26    __ GRANT / __ DENY / __ OTHER:
 6   ¶ 683                 __ GRANT / __ DENY / __ OTHER:
     ¶ 684                 __ GRANT / __ DENY / __ OTHER:
 7
     ¶ 685, lines 14-16    __ GRANT / __ DENY / __ OTHER:
 8   ¶ 686                 __ GRANT / __ DENY / __ OTHER:
 9   ¶ 687                 __ GRANT / __ DENY / __ OTHER:
     ¶ 688                 __ GRANT / __ DENY / __ OTHER:
10   Pg. 116, lines 4-5    __ GRANT / __ DENY / __ OTHER:
11   ¶ 689                 __ GRANT / __ DENY / __ OTHER:
     ¶ 690                 __ GRANT / __ DENY / __ OTHER:
12
     ¶ 691                 __ GRANT / __ DENY / __ OTHER:
13   ¶ 692                 __ GRANT / __ DENY / __ OTHER:
     ¶ 693                 __ GRANT / __ DENY / __ OTHER:
14
     ¶ 694                 __ GRANT / __ DENY / __ OTHER:
15   ¶ 695                 __ GRANT / __ DENY / __ OTHER:
16   ¶ 696, lines 7-8      __ GRANT / __ DENY / __ OTHER:
     ¶ 697, lines 10-17    __ GRANT / __ DENY / __ OTHER:
17
     ¶ 698                 __ GRANT / __ DENY / __ OTHER:
18   ¶ 700                 __ GRANT / __ DENY / __ OTHER:
     ¶ 701                 __ GRANT / __ DENY / __ OTHER:
19
     ¶ 708                 __ GRANT / __ DENY / __ OTHER:
20   ¶ 710                 __ GRANT / __ DENY / __ OTHER:
21   ¶ 711, line 12        __ GRANT / __ DENY / __ OTHER:
     ¶ 712, lines 17-18    __ GRANT / __ DENY / __ OTHER:
22   ¶ 713                 __ GRANT / __ DENY / __ OTHER:
23   ¶ 714                 __ GRANT / __ DENY / __ OTHER:
     ¶ 715                 __ GRANT / __ DENY / __ OTHER:
24
     ¶ 716                 __ GRANT / __ DENY / __ OTHER:
25   ¶ 717                 __ GRANT / __ DENY / __ OTHER:
     ¶ 718                 __ GRANT / __ DENY / __ OTHER:
26
     ¶ 719                 __ GRANT / __ DENY / __ OTHER:
27   ¶ 720                 __ GRANT / __ DENY / __ OTHER:
28   ¶ 721                 __ GRANT / __ DENY / __ OTHER:
                                          14
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 1   ¶ 722                    __ GRANT / __ DENY / __ OTHER:
 2   ¶ 723, lines 4-5, 7-10   __ GRANT / __ DENY / __ OTHER:
     ¶ 724                    __ GRANT / __ DENY / __ OTHER:
 3   ¶ 726                    __ GRANT / __ DENY / __ OTHER:
 4   ¶ 727                    __ GRANT / __ DENY / __ OTHER:
     ¶ 728                    __ GRANT / __ DENY / __ OTHER:
 5
     ¶ 729, lines 5-8         __ GRANT / __ DENY / __ OTHER:
 6   Pg. 122, lines 16-17     __ GRANT / __ DENY / __ OTHER:
     ¶ 732                    __ GRANT / __ DENY / __ OTHER:
 7
     ¶ 733                    __ GRANT / __ DENY / __ OTHER:
 8   ¶ 734                    __ GRANT / __ DENY / __ OTHER:
 9   ¶ 735                    __ GRANT / __ DENY / __ OTHER:
     ¶ 736                    __ GRANT / __ DENY / __ OTHER:
10   ¶ 737, lines 10-13       __ GRANT / __ DENY / __ OTHER:
11   ¶ 738                    __ GRANT / __ DENY / __ OTHER:
     ¶ 739                    __ GRANT / __ DENY / __ OTHER:
12
     ¶ 740                    __ GRANT / __ DENY / __ OTHER:
13   ¶ 741                    __ GRANT / __ DENY / __ OTHER:
     ¶ 742                    __ GRANT / __ DENY / __ OTHER:
14
     ¶ 743, lines 10-11       __ GRANT / __ DENY / __ OTHER:
15   ¶ 749, lines 17-18       __ GRANT / __ DENY / __ OTHER:
16   ¶ 751                    __ GRANT / __ DENY / __ OTHER:
     ¶ 752                    __ GRANT / __ DENY / __ OTHER:
17
     ¶ 753                    __ GRANT / __ DENY / __ OTHER:
18   ¶ 754                    __ GRANT / __ DENY / __ OTHER:
     ¶ 770, lines 8-13        __ GRANT / __ DENY / __ OTHER:
19
     ¶ 772                    __ GRANT / __ DENY / __ OTHER:
20   ¶ 773                    __ GRANT / __ DENY / __ OTHER:
21   ¶ 774                    __ GRANT / __ DENY / __ OTHER:
     ¶ 775                    __ GRANT / __ DENY / __ OTHER:
22   ¶ 776                    __ GRANT / __ DENY / __ OTHER:
23   ¶ 777                    __ GRANT / __ DENY / __ OTHER:
     ¶ 778, lines 23-25       __ GRANT / __ DENY / __ OTHER:
24
     ¶ 779                    __ GRANT / __ DENY / __ OTHER:
25   ¶ 780                    __ GRANT / __ DENY / __ OTHER:
     ¶ 781                    __ GRANT / __ DENY / __ OTHER:
26
     ¶ 782                    __ GRANT / __ DENY / __ OTHER:
27   ¶ 783                    __ GRANT / __ DENY / __ OTHER:
28   ¶ 784                    __ GRANT / __ DENY / __ OTHER:
                                             15
                                                  [Proposed] Order Re: Pls. Admin. Mot. (4:23-cv-05448)
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 1    ¶ 785                   __ GRANT / __ DENY / __ OTHER:
 2    ¶ 786                   __ GRANT / __ DENY / __ OTHER:
      ¶ 789                   __ GRANT / __ DENY / __ OTHER:
 3    ¶ 790                   __ GRANT / __ DENY / __ OTHER:
 4    ¶ 791                   __ GRANT / __ DENY / __ OTHER:
      ¶ 804                   __ GRANT / __ DENY / __ OTHER:
 5
      ¶ 805                   __ GRANT / __ DENY / __ OTHER:
 6    ¶ 809                   __ GRANT / __ DENY / __ OTHER:
      ¶ 813                   __ GRANT / __ DENY / __ OTHER:
 7
      ¶ 814                   __ GRANT / __ DENY / __ OTHER:
 8    ¶ 815                   __ GRANT / __ DENY / __ OTHER:
 9    ¶ 816                   __ GRANT / __ DENY / __ OTHER:
      ¶ 817                   __ GRANT / __ DENY / __ OTHER:
10    ¶ 818                   __ GRANT / __ DENY / __ OTHER:
11    ¶ 820                   __ GRANT / __ DENY / __ OTHER:
      ¶ 821                   __ GRANT / __ DENY / __ OTHER:
12
      ¶ 822, lines 21-22      __ GRANT / __ DENY / __ OTHER:
13    ¶ 823                   __ GRANT / __ DENY / __ OTHER:
      ¶ 824                   __ GRANT / __ DENY / __ OTHER:
14
      ¶ 825                   __ GRANT / __ DENY / __ OTHER:
15    ¶ 826                   __ GRANT / __ DENY / __ OTHER:
16    ¶ 827                   __ GRANT / __ DENY / __ OTHER:
      ¶ 836, line 6           __ GRANT / __ DENY / __ OTHER:
17
      ¶ 846.c, lines 17-18    __ GRANT / __ DENY / __ OTHER:
18    ¶ 881, line 11          __ GRANT / __ DENY / __ OTHER:
      ¶ 947.c, lines 9-10     __ GRANT / __ DENY / __ OTHER:
19
      ¶ 959.c, lines 1-2      __ GRANT / __ DENY / __ OTHER:
20    ¶ 1001, lines 25-26     __ GRANT / __ DENY / __ OTHER:
21    ¶ 1002, lines 3-4       __ GRANT / __ DENY / __ OTHER:
      ¶ 1005, lines 22-24     __ GRANT / __ DENY / __ OTHER:
22    ¶ 1012.c, lines 12-13   __ GRANT / __ DENY / __ OTHER:
23

24   IT IS SO ORDERED.
25   DATED this ___ day of __________________, 2023.
26

27                                                   ________________________________

28
                                               16
                                                    [Proposed] Order Re: Pls. Admin. Mot. (4:23-cv-05448)
